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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

JOHN EASTMAN,

               Plaintiff,
       v.                                                        No. CIV 22-mc-23 RB/KK

UNITED STATES OF AMERICA,

               Defendant.

                            NOTICE OF ENTRY OF APPEARANCE

       Mary L. Dohrmann, Assistant United States Attorney for the District of Columbia, hereby

enters her appearance on behalf of Defendant United States of America in the above-captioned

cause of action.

                                           Respectfully submitted,

                                           Matthew M. Graves
                                           United States Attorney for the District of Columbia


                                       By: /s/ Mary L. Dohrmann
                                           Mary L. Dohrmann
                                           Assistant United States Attorney
                                           601 D Street, N.W.
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                                           Office: 202-252-7035



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 5, 2022, I filed the foregoing pleading electronically
through the CM/ECF system, which caused the following party or counsel of record to be served
by electronic means, as more fully reflected on the Notice of Electronic Filing.

       Charles Burnham: charles@burnhamgorokhov.com
       Joseph Gribble: jjg@crowleygribble.com

                                              /s/ Mary L. Dohrmann, 8/5/22
                                              Mary L. Dohrmann
                                              Assistant United States Attorney
